     Case: 1:22-cv-01442 Document #: 28 Filed: 03/23/23 Page 1 of 2 PageID #:73




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

JONATHAN LACY,                                 )
                                               )
                               Plaintiff,      )            Case No.: 1:22-cv-01442
                                               )
                 v.                            )
                                               )
COUNTY OF COOK, COOK COUNTY                    )            Honorable Sara L. Ellis
SHERIFF  THOMAS    DART,                       )
UNKNOWN COOK COUNTY                            )
CORRECTIONAL OFFICERS,                         )
                                               )
                               Defendants.     )
                                               )


              RE-NOTICE OF MOTION AND CERTIFICATE OF SERVICE

       On Thursday March 30th at 1:45 pm, or as soon thereafter as counsel may be

heard, we shall appear via phone before the Honorable Sara L. Ellis, occupying Room 1403,

in the United States District Court for the Northern District of Illinois, and we will then and

there present Jason E. DeVore’s Agreed Motion for Entry of Qualified Protective Order

and Agreed Motion for Confidentiality Order.

                                                              Respectfully Submitted,

                                                      By:     /s/ Jason E. DeVore
                                                              Jason E. DeVore, One of the
                                                              Attorneys for Defendants
DEVORE RADUNSKY LLC
Jason E. DeVore (ARDC # 6242782)
Troy S. Radunsky (ARDC # 6269281)
Zachary G. Stillman (ARDC # 6342749)
230 W. Monroe Street, Ste. 230
Chicago, IL 60606
(312) 300-4479 telephone
jdevore@devoreradunsky.com
tradunsky@devoreradunsky.com
     Case: 1:22-cv-01442 Document #: 28 Filed: 03/23/23 Page 2 of 2 PageID #:74




                               CERTIFICATE OF SERVICE


        The undersigned, an attorney, hereby certifies that the Foregoing Re-Notice of Motion
was filed on March 23, 2023, with the Northern District of Illinois ECF System, serving a copy
to all parties.

                                                   /s/ Zachary Stillman
                                                   Zachary Stillman




                                               2
